Case 1:23-cr-00239-CKK   Document 229-5   Filed 01/29/25   Page 1 of 3




                EXHIBIT D
Bitfinex | Recovery Right Token (RRT) Terms
                        Case 1:23-cr-00239-CKK        Document 229-5        Filed 01/29/25      Page 2 of 3




      Legal & privacy




     Recovery Right Token (RRT) Terms
     On August 2, 2016, certain property was stolen from iFinex Inc. (“iFinex”) and from BFXNA Inc. (collectively, the
     “Bitfinex Group”) and the Bitfinex Group’s customers (the “Event”). This stolen property is referred to herein as
     the “Losses.” Since the Losses took place, certain BFX token holders have converted their BFX tokens to
     shares of iFinex. RRTs have been awarded to those converting shareholders on a sliding scale.


     RRTs are digital tokens evidencing a limited-recourse, contingent obligation of the Bitfinex Group. RRTs are
     notional credits, are solely dependent on the Bitfinex Group’s recovery of Losses, and are subordinated to any
     and all other claims against the Bitfinex Group, including claims related to the Losses. Recovery, in this context,
     refers exclusively to recovery of the property taken during the Event. As of November 30, 2016, the total
     number of RRTs issued and outstanding is equal to 30,199,822.40.


     An RRT entitles the holder to a share of the recovery only after all issued and outstanding BFX tokens are
     redeemed. If sufficient recovery amounts remain after redemption of all BFX tokens, RRTs are entitled to share
     in the recovery at a rate of 1:1: one RRT entitles the holder to US$1.00 of recovery, 1/2 of an RRT entitles the
     holder to US$0.50 of recovery, etc. If the remaining recovery amount is less than the amount to cover RRTs on
     this basis, the remaining recovery amount shall be allocated among RRTs pro rata. (Recovery amounts
     available, if any, in excess of 1:1 to RRT holders shall belong to and be solely vested in the Bitfinex Group.)
     RRTs may be redeemed by the Bitfinex Group at any time at the Bitfinex Group’s sole option, using dollars,
     digital tokens, or other property at current market values, in the Bitfinex Group’s discretion.


     By holding, owning, or possessing RRTs, you release and hold harmless the Bitfinex Group from, and waive
     any claim against, the Bitfinex Group associated with the recovery efforts undertaken as a result of the Event
     and the Losses. Any rights, claims, and defences available to the Bitfinex Group under the terms of service at
     bitfinex.com are expressly reserved.


     RRTs and your rights pursuant thereto may not be assigned except with notice to, and the prior consent of, the
     Bitfinex Group. RRTs may be transferred on the following terms with prior notice to the Bitfinex Group:

             U.S. persons may not trade in RRTs.
             Customers that are not U.S. persons may purchase and transfer RRTs without restriction if, in connection with
             each trade, they verify to the Bitfinex Group’s satisfaction that they are not U.S. persons.
             To transfer RRTs to other persons, transferors must assign to transferees any claims that transferors have
             against the Bitfinex Group on account of the RRTs.
Bitfinex | Recovery Right Token (RRT) Terms
                        Case 1:23-cr-00239-CKK   Document 229-5       Filed 01/29/25     Page 3 of 3
     By transferring an RRT to another person, all transferors thereby assign to the respective transferees any
     claims that the transferor has against the Bitfinex Group on account of the Losses and any claims associated
     with the Event.




                                                       Demo

                                                     Sign up




     Services


     Products


     Company


     Support


     Learn
